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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
CHARLENE TALARICO,

                                   Plaintiff,                               18 CIVIL 909 (JPO)

                 -against-                                                    JUDGMENT
THE PORT AUTHORITY OF NEW YORK
AND NEW JERSEY,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated February 23, 2022, the Port

Authority’s motion for summary judgment is GRANTED; accordingly, the case is closed.



Dated: New York, New York
       February 23, 2022




                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
